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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                      at Greenbelt

IN RE:                        :
                              :
                              :
Eyal Samuel Rosenstock        :                                Case No: 18-19227 LSS
                              :                                Chapter 13
                       Debtor :
____________________________:

                                      STATUS REPORT

         The debtor, Eyal Samuel Rosenstock, by his attorney, David E. Cahn, hereby submits the

following Status Report in regards to the two pending matters in Puerto Rico:

A.       CHILD SUPPORT - ISRF 2014 00879

         Debtor has informed the court and asked for protection and a reasonable Child Support

due to changes in income and children’s expenses. Due to the Creditor’s failure to comply with

Court Orders, she is precluded from introducing evidence in this matter. ​A hearing is currently

scheduled for February 4, 2021.

B.       FRAUD - MZ2019CV00247

         Creditor used fraudulent document(s) which caused harm to the Debtor. Creditor has

filed a Motion to Dismiss. Due to COVID-19, three hearings on this matter were suspended. A

virtual hearing is currently scheduled for January 22, 2021.

                                             Respectfully submitted,

                                             /s/ David E. Cahn​____________
                                             David E. Cahn, Bar No. 18279
                                             Law Office of David Cahn, LLC
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                                             Frederick, MD 21701
                                             Ph: (301) 799-8072/F: (877) 862-5426
                                             cahnd@cahnlawoffice.com
                                             Attorney for the Debtor
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                               CERTIFICATE OF SERVICE

        I hereby certify that after a review of the Court’s Electronic Mail Notice List, a true and
correct copy of the foregoing document and Proposed Order will be served electronically by
CM/ECF on this January 7, 2021 to:

    ● Rebecca A. Herr - ecf@ch13md.com.


                                              /s/ David E. Cahn​______
                                              David E. Cahn
